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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                     Case No. 20-cv-01731
               Plaintiff,
                                                     Judge Charles R. Norgle
v.
                                                     Magistrate Judge Jeffrey Cummings
CANDYSUN FUNNY STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Entertainment

One UK Ltd. (“eOne” or “Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendants:

                Defendant Name                                         Line No.
               shop4650061 store                                          16
                  ladybaby888                                             41


Dated this 17th day of July 2020.            Respectfully submitted,

                                             /s/ Jake M. Christensen
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Jake M. Christensen
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